Case 4:21-cv-00033-ALM Document 7-3 Filed 03/09/21 Page 1 of 5 PageID #: 449




EXHIBIT 2
        Case 4:21-cv-00033-ALM Document 7-3 Filed 03/09/21 Page 2 of 5 PageID #: 450




Date: Wed, Jul 29, 2020 at 3:17 PM
Subject: Email from the president of GAMuT
To: Timothy Jackson <shermanzelechin@gmail.com>


Dear Dr. Jackson,

I received this email from the president of GAMuT earlier today. Just wanted to make you aware of this if you
haven't already been informed. I have attached the letter and here is the text of the email:

Dear colleagues,

A group of us have come together and written a statement to Dean Richmond regarding recent events with the
Journal of Schenkerian Studies. For your reference, it is attached. The letter will be sent to the dean before the
end of the week. We have decided not to sign the statement anonymously, but rather list our names at the end.
To this end, I write to ask all of you if you would like your names included. Since we are moving quickly,
please read the letter and respond as soon as you are able.

If you would like your name on the statement, please respond "Yes, I would like my name included on the
statement." If you would prefer not to have your name on the statement, please respond "No, please do not put
my name on the statement."

We are going to do everything in our power to ensure Dean Richmond keeps the signatories anonymous if it
becomes necessary for him to circulate the letter. That being said, no one will think less of you for not signing.

Again, please respond as quickly as you can with a yes or no. Many thanks for your attention to this important
matter.

All best,
Peter Kohanski
President, the Graduate Association of Musicologists unt Theorists




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Case 4:21-cv-00033-ALM Document 7-3 Filed 03/09/21 Page 3 of 5 PageID #: 451




Dear Dean Richmond,

We, a cross-section of graduate students in the Division of Music History, Theory, and
Ethnomusicology (MHTE), write to condemn the latest issue of the Journal
of Schenkerian Studies (JSS) and address concerns that recent events have foregrounded.

We are appalled by the JSS’s recent perpetuation of anti-Black racism and platforming of ad
hominem attacks in response to Dr. Philip Ewell’s scholarship. These egregious acts go beyond the
bounds of academic discourse and require a strong, swift response from the College of Music. We
call upon the CoM to dissolve the JSS, dismiss Dr. Timothy Jackson, make substantial changes
to the Center for Schenkerian Studies (CSS), implement consequences for those involved in the
publication of the most recent issue of the JSS, and work to foster an institutional culture within the
MHTE Division and the CoM where these events could never transpire. These changes are not only
necessary for the sake of UNTs reputation and the well-being of its students but are also moral
imperatives that can no longer be ignored.

Dishonesty and a Lack of Academic Rigor in the JSS

While we encourage the CoM to undertake a full investigation of the JSS Volume 12, we would be
remiss if this document did not highlight the most reprehensible aspects of the journal.

   1. Lack of peer review: The call for papers gave a two-week deadline for responses; all papers
   were accepted, without asking for substantial edits; papers were in some cases given only a five-
   day turnaround once notified of their acceptance to the journal; and the deadlines
   were selectively enforced, which allowed more anti-Ewell submissions to be accepted.
   2. Illicit collaboration. After coopting the JSS in order to mount an attack on Dr. Ewell, Dr.
   Jackson proceeded to solicit responses from his close Schenkerian colleagues. The result of this
   solicitation and coordination between six of the anti-Ewell papers produced a markedly
   skewed bias toward the anti-Ewell responses. In stark contrast to this coordinated effort
   by Dr. Jackson et al., Dr. Ewell was neither notified nor asked to respond, as is standard
   academic practice.
   3. Editorial missteps. The Assistant Editor, Levi Walls, was completely powerless to edit
   content and ideas or to provide substantive feedback during the editorial process. In
   practice, Dr. Jackson exercised control over editorial decisions, a power he should not have
   had. Although Levi did everything within his power to prevent the publication of racist
   views, the implications of his title meant that he was attacked for his ostensible decision-
   making role in the journal. This view was compounded by online references to the JSS as a
   publication run by doctoral students.

The JSS Moving Forward

Given the egregious behavior by the JSS and specifically by the advisory board, we urgently call for
the following steps to be taken.
   1. Dissolve the JSS. The JSS has demonstrated that it does not meet the standards of a peer-
   reviewed publication. The basis of academic discourse is trust and authenticity, and the JSS has
   violated that trust. As such, there is no reason for it to exist.
Case 4:21-cv-00033-ALM Document 7-3 Filed 03/09/21 Page 4 of 5 PageID #: 452




   2. Publicly condemn the issue and release it freely online to the public. All contributors
   should be held fully accountable for their comments, which must not be hidden for the sake of
   the self-preservation of any involved parties. By making this volume accessible to the public with
   a disclaimer from the CoM, we hope to enable all scholars to address this problematic
   discourse.
   3. Provide a full, detailed, and public account of the editorial and publication process,
   and its failures. The JSS must make a public account of the process so individuals who
   intentionally subverted academic norms can be held accountable, and so that innocent parties
   might be absolved of both guilt and a burden of silence.
   4. Hold accountable every person responsible for the direction of the publication. This
   should also extend to investigating past bigoted behaviors by faculty and, by taking this into
   account, the discipline and potential removal of faculty who used the JSS platform to promote
   racism.
   5. Ensure that no member of the current JSS Advisory Board oversees or reviews work
   done by a TA or TF. Neither Dr. Slottow nor Dr. Jackson should be permitted to oversee
   graduate students in any employment capacity, including supervising those who manage graduate
   student assistantships.

Calling for Dr. Jackson’s Dismissal

Dr. Jackson should be removed from the UNT faculty because he has shown that his values are
diametrically opposed to those of our division, the CoM, and the university at large. He has a history
of racist, sexist, and abusive behavior in his many capacities. He was removed from the oversight of
the RA for the CSS due to his treatment of previous RAs. Among the issues raised were:
    1. Using the CSS RA to aid with his personal research
    2. Requiring student work during the summer without pay
    3. Extortion through grade manipulation and threats to students’ careers and reputations
These abuses were eventually addressed, but it took CoM administrators years to attempt to remedy
these problems. While this included Dr. Jackson’s aforementioned removal from overseeing the CSS
RA, his influence over both the CSS, the JSS, and the graduate research
assistantship unofficially continued. His present offenses concerning this issue of the JSS are part of
a pattern of harmful behaviors that have disproportionately affected marginalized students and
faculty. His reputation extends beyond UNT and affects how our division is perceived externally.

If the CoM is unable to remove Dr. Jackson from his position, these steps must be taken at a
minimum:
     1. Require a formal apology and retraction. Dr. Jackson must provide a formal apology and
     retract his explicit racist comments and ad hominem attacks on Dr. Ewell.
     2. Prevent power imbalances. Given that Dr. Jackson’s position has facilitated past abuses,
     he must be prohibited from teaching required courses, advising students, serving on committees
     in any capacity, or wielding power over students or faculty.
     3. Eliminate research and travel funding and prohibit involvement in UNT
     publications. Funding for Dr. Jackson’s research and travel must be immediately
     and permanently terminated so that he can no longer manipulate the power structures within
     UNT publications to promote his own ideas. UNT must not provide a platform for his views.
Case 4:21-cv-00033-ALM Document 7-3 Filed 03/09/21 Page 5 of 5 PageID #: 453




Addressing the MHTE Division’s Culture

Issue 12 of the JSS—both in its content and publication process—sheds light on a
problematic culture within our division. Several faculty members have demonstrated through their
actions a lack of understanding of issues of diversity. More concerning is the broader pattern of
ineffective responses to graduate students’ concerns. As illustrated in both Dr. Jackson’s previous
and current behaviors, problems were ignored by multiple administrators in the division and college
at large. Action was only taken after these issues received broader (and especially public)
attention. We recognize Dr. Brand’s efforts to change our culture by initiating diversity training
within our division and fostering an atmosphere where graduate students generally feel welcome
when bringing issues to him, yet this has not yet led to an environment that prevents such abuses
from happening. It is a start, but much work remains to be done.
With that in mind, we call on the MHTE Division and the CoM to take the following
steps to critically examine and radically transform our institutional culture:
     1. Launch an investigation into the culture in UNT, the CoM, and the MHTE
     Division. This investigation should take into account past concerns and remove barriers that led
     to inaction within the division and CoM. Specific concerns include addressing racism and sexism
     and serving diverse communities. A third party—such as representatives from the Division of
     Institutional Equity and Diversity—should oversee this investigation.
     2. Create a reporting process that ensures transparency, clarity, and protection from
     retaliation for graduate students within the MHTE Division and CoM. There are many
     more troubling incidents that we would like to bring to your attention, and we recognize that
     there will be many more in the future. We look forward to the conversations necessary to bring
     about this institutional change.
     3. Appoint a faculty member (or
     faculty members or university representatives) specifically tasked with advocating
     for graduate students. We call for one or more faculty members to be specifically charged with
     hearing graduate student concerns, corroborating those concerns, and advocating for
     appropriate responses both within and outside the CoM.

We call upon the MHTE Division and CoM to take these proposed actions, and we look forward to
a dialogue as we work together to make UNT the best version of itself. We eagerly await your
response.

Sincerely,
